     Case 18-14144-SDM                    Doc 51      Filed 10/14/22 Entered 10/14/22 15:24:43                               Desc Main
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    Fill in this information to identify your case:


    Debtor 1                Chris Banks
    Debtor 2
    (Spouse, if filing)     N/A

    United States Bankruptcy Court for the: NORTHERN District of Mississippi

    Case Number             18-14144-SDM


  Official Form 410S1
  Notice of Mortgage Payment Change                                                                                                    12/15
  If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
  debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
  as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

    Name of creditor: PennyMac Loan Services, LLC                                  Court claim no. (if known): 4


    Last 4 digits of any number you use to
                                                                                   Date of payment change: 12/1/2022
    Identify the debtor’s account: 7598
                                                                                   Must be at least 21 days after date of this notice
                                                                                   New total payment: $ 924.08
                                                                                   Principal, interest, and escrow, if any

    Part 1:      Escrow Account Payment Adjustment


    1. Will there be a change in the debtor’s escrow account payment?

           No
           Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the
                basis for the change. If a statement is not attached, explain why:



                  Current escrow payment: $ 296.94                                    New escrow payment: $ 372.41


    Part 2:      Mortgage Payment Adjustment


    2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor’s
       variable-rate account?

           No
           Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:


                  Current interest rate: _____ %                                      New interest rate: _____ %

                  Current principal and interest payment: $ _____                     New principal and interest payment: $ _____


    Part 3:      Other Payment Change


    3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?

           No
           Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                 Reason for change:

                  Current mortgage payment: $ _____                                   New mortgage payment: $ _____




Official Form 410S1                                       Notice of Mortgage Payment Change                                               page 1
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     Debtor 1 Chris Banks                                                                  Case number (if known) 18-14144-SDM
   First Name      Middle Name            Last Name




        Part 4:        Sign Here


       The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
       telephone number.

       Check the appropriate box.

                  I am the creditor.

                  I am the creditor’s authorized agent.


       I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
       knowledge, information, and reasonable belief.




       X _/s/ Kimberly D. Putnam____________________________
                                                                                                 Date _______________
                                                                                                      October 14, 2022

           Signature


                                                                                                 Title Attorney
       Print                     Kimberly D. Putnam (MSB# 102418)
                                  First Name Middle Name Last Name


       Company                   Dean Morris, LLC

       Address                   1820 Avenue of America
                                 Number       Street


                                 Monroe, LA 71201
                                 City     State        Zip Code



       Contact phone (318) 330– 9020                                                             Email miss.bk@ms.creditorlawyers.com




Official Form 410S1                                                  Notice of Mortgage Payment Change                                  page 2
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                                        CERTIFICATE OF SERVICE

             I, Kimberly D. Putnam, hereby certify that I have notified all interested parties of the Notice of

   Mortgage Payment Change filed by PennyMac Loan Services, LLC as reflected on the foregoing

   notice,

             Chris Banks
             3015 Wynbrooke Dr
             Corinth, MS 38834

             Karen B. Schneller
             Attorney at Law
             karen.schneller@gmail.com

             Terre M. Vardaman
             Trustee
             vardaman13@gmail.com

             U.S. Trustee
             USTPRegion05.AB.ECF@usdoj.gov

   by electronic transmission or mailing this notice and a copy of the Notice of Mortgage Payment

   Change filed herein by United States Mail, first class, postage prepaid and properly addressed, all

   on this ____________________________,
                14th day of October      20____.
                                            22

                                                     Dean Morris, LLC
                                                     1820 Avenue of America
                                                     Monroe, Louisiana 7l201
                                                     (3l8) 330-9020

                                                     /s/ Kimberly D. Putnam
                                                     Kimberly D. Putnam (MSB# 102418)
                                                     Attorney for Creditor
                                                     kim.mackey@ms.creditorlawyers.com
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                                                                        Escrow Account Disclosure Statement
          P.O. BOX 514387                                                        Statement Date: October 6, 2022
          LOS ANGELES, CA 90051-4387
                                                                                 Loan Number:

                                                                                 Property Address:
                                                                                 3015 WYNBROOKE DR
                                                                                 CORINTH MS 38834

                                                                                    Questions? Visit our website @
                                                                                    www.PennyMac.com
CHRIS BANKS
3015 WYNBROOKE DR                                                                   (800) 777 - 4001 (Se Habla Español)
CORINTH, MS 38834-1431                                                              M - F: 5:00 AM - 6:00 PM PT
                                                                                    Sat: 7:00 AM - 11:00 AM PT

Annual Escrow Account Review
At least once each year, PennyMac Loan Services, LLC (“PennyMac”) reviews your escrow account to make sure there
is enough money to pay your property taxes and/or insurance premiums. This statement informs you of any
adjustments to your monthly payment, shows you how much money you currently have in your escrow account and
how much you will need in the next 12 months.
Your New Mortgage Payment
During the next year, your escrow account balance is projected to have a shortage and/or escrow reserve payment
(meaning not enough funds to pay your taxes and/or insurance as they come due). See Your Escrow Shortage and/or
Escrow Reserve section on page 3 for more details.


                                          Current Monthly Payment         New Monthly Payment Amount with
                 Description
                                                  Amount                   Spread Shortage Over 12 Months

        Principal and Interest                    $551.67                             $551.67

        Escrow Payment                            $272.03                             $262.10

        Shortage Payment                            $0.00                              $71.81

        Escrow Reserve Payment                     $24.91                              $38.50

        Total Payment Amount                      $848.61                             $924.08

Please start making the 'New Monthly Payment Amount' on December 1, 2022. Payments due prior to this date should
be made at the 'Current Monthly Payment Amount' shown.

Projected Escrow Account Activity
Over the next year, PennyMac expects to pay $3,145.29 from your escrow account. Your new monthly escrow
payment is $262.10.
                        Escrow Item Description       Annual Amount              Monthly Amount
                  Hazard Ins:                               $1,788.00
                  Mortgage Insurance:                        $373.22
                  County Tax:                                $317.83
                  Vlg Tax:                                   $666.24
                  Total Payments from Escrow:               $3,145.29   ÷ 12 =       $262.10
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    Projected Escrow Account Activity (Continued)
    Below is a projection of escrow account activity from December 01, 2022 through November 30, 2023. These amounts
    may change when the actual payments become due.

                                                                                              Mortgage
                                            Escrow              Tax         Insurance         Insurance       Projected
                   Month                   Deposit(s)        Payment(s)    Payment(s)        Payment(s)        Balance

      Beginning Escrow Balance                                                                                $1,124.00
      Dec 2022                                $262.10          $317.83        $0.00                 $0.00     $1,068.27
      Jan 2023                                $262.10          $666.24        $0.00                 $0.00       $664.13
      Feb 2023                                $262.10              $0.00   $1,788.00                $0.00      ($861.77) 1
      Mar 2023                                $262.10              $0.00      $0.00                 $0.00      ($599.67)
      Apr 2023                                $262.10              $0.00      $0.00            $373.22         ($710.79)
      May 2023                                $262.10              $0.00      $0.00                 $0.00      ($448.69)
      Jun 2023                                $262.10              $0.00      $0.00                 $0.00      ($186.59)
      Jul 2023                                $262.10              $0.00      $0.00                 $0.00        $75.51
      Aug 2023                                $262.10              $0.00      $0.00                 $0.00       $337.61
      Sep 2023                                $262.10              $0.00      $0.00                 $0.00       $599.71
      Oct 2023                                $262.10              $0.00      $0.00                 $0.00       $861.81
      Nov 2023                                $262.10              $0.00      $0.00                 $0.00     $1,123.91
      Ending Escrow Balance                                                                                   $1,123.91
      Totals                                $3,145.20          $984.07     $1,788.00           $373.22
       1
           Lowest projected balance.



    Your Escrow Shortage and/or Reserve

    Based on the projected activity above, our review shows that your escrow balance is less than $0. This means you have
    a deficiency (meaning negative balance) of ($1,125.63), a shortage of ($861.77), and an additional required balance of
    $462.00 to satisfy the reserve. See the lowest projected balance in the table above to find out when this will occur.

                           Lowest Projected Balance                                     ($861.77)

                           Minimum Required Balance                                      $462.00

                           Escrow Shortage and/or Escrow Reserve                        $1,323.77

    PennyMac requires a minimum balance up to one-sixth of the estimated total annual payments from your escrow
    account, unless state law or your mortgage contract requires less, to help cover any unexpected increases in taxes
    and/or insurance. The minimum required balance does not include mortgage insurance.
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           Escrow Account History

           The following is the statement of activity in your escrow account from December 01, 2021 through November 30,
           2022.

           Last year, we anticipated that payments from your account would be made during this period equaling $3,264.46.
           Your lowest monthly balance should not have exceeded $480.14, or 1/6 of anticipated payments from the account,
           unless your mortgage contract or state law specifies a lower amount.

           The table below shows the Projected and Actual account history for the previous escrow account period.

                        Payments                                      Disbursements                                      Escrow Balance
Month       Projected         Actual         Projected       Description              Actual          Description         Projected            Actual
Beginning Escrow Balance                                                                                                      $725.31       ($1,335.24)

Dec 2021        $272.03       $260.93 *        $314.84        County Tax              $984.07 *    County Tax, Vlg Tax        $682.50       ($2,058.38)

Jan 2022        $272.03       $260.93 *        $661.02          Vlg Tax                 $0.00 *                               $293.51       ($1,797.45)
Feb 2022        $272.03       $530.89 *           $0.00                                 $0.00                                 $565.54       ($1,266.56)

Mar 2022        $272.03       $296.94 *           $0.00                             $2,171.60 *    Hazard Ins, MIP/PMI        $837.57       ($3,141.22)2

Apr 2022        $272.03       $296.94 *        $383.60         MIP/PMI                  $0.00 *                               $726.00       ($2,844.28)

May 2022        $272.03       $296.94 *           $0.00                                 $0.00                                 $998.03       ($2,547.34)

Jun 2022        $272.03       $530.89 *           $0.00                                 $0.00                               $1,270.06       ($2,016.45)

Jul 2022        $272.03       $296.94 *           $0.00                                 $0.00                               $1,542.09       ($1,719.51)

Aug 2022        $272.03       $296.94 *           $0.00                                 $0.00                               $1,814.12       ($1,422.57)

Sep 2022        $272.03       $296.94 *       $1,905.00       Hazard Ins                $0.00 *                               $181.15       ($1,125.63)

Oct 2022        $272.03          $0.00 *          $0.00                                 $0.00                                 $453.18       ($1,125.63)
Nov 2022        $272.03      $2,249.63 *E         $0.00                                 $0.00                                 $725.21        $1,124.00

Ending Escrow Balance                                                                                                         $725.21        $1,124.00

Totals        $3,264.36      $5,614.91        $3,264.46                             $3,155.67
      2
       Lowest actual balance.
      An asterisk ‘*’ beside an amount indicates a difference from projected activity, either in the amount or the date.
      The letter ‘E’ beside an amount indicates that the payment has not yet occurred, but is estimated to occur as shown.
      At the time of analysis, PennyMac assumes that you will make all scheduled mortgage payments by or before the effective date of your new
      payment (shown in the Projected Escrow Account Activity section above).
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                                                                      Other Important Information
                                       www.PennyMac.com                                  PennyMac Customer Service:                             PennyMac Loan Services, LLC
                                 Available 24/7 on all your devices:                (800) 777 - 4001                                        Attn: Correspondence Unit
      How to                     PC, Tablet, and Mobile.                                                                                    P.O. Box 514387
                                                                                    M - F: 5:00 AM - 6:00 PM PT
      Contact Us                 El sitio web y las declaraciones están                                                                     Los Angeles, CA 90051-4387
                                                                                    Sat: 7:00 AM - 11:00 AM PT
                                 disponibles en español.                            Fax: (866) 577 - 7205
                                 Go Paperless today!
                                 Auto-Pay *: Enroll in Auto-Pay, on our             Pay-by-Phone: (800) 777-4001                            Check **: Mail to PennyMac:
                                 website, to set up recurring payments from         (Fees may apply to use this service)                    Standard Address: P.O. Box 660929
        How to Make a            the bank account of your choice.                   Western Union:                                          Dallas, TX 75266-0929
        Payment                  Pay Online: Make a one-time payment on             Code City: PennyMac                                     Overnight Address:
                                 our website.                                       Pay To: PennyMac Loan Services                          Attn: Lockbox Operations
                                                                                    Code State: CA                                          20500 Belshaw Ave.
                                                                                    ID Number: Enter Loan Number                            Carson, CA 90746
                                 Property Tax Bills:                                                         General Insurance Questions: (866) 318-0208
                                 If you receive a tax bill, you do not need to take any action. (Please      Insurance Information: Any time there is a change to your insurance
                                 note: Supplemental/ Additional tax bills are the responsibility of the      policy please provide your insurance carrier the following
      Tax and                    homeowner; PennyMac will pay them from the escrow account upon              information:
      Insurance                  request.)                                                                           Mortgagee Clause:
      Information                                                                                                    PennyMac Loan Services, LLC
                                                                                                                     Its Successors and/or Assigns
                                                                                                                     P.O. Box 6618
                                                                                                                     Springfield, OH 45501-6618
      Credit                We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may
      Reporting Information be reflected in your credit report.

      Important                  This is an attempt by a debt collector to collect a debt and any information obtained will be used for that purpose. However, if your account
      Consumer                   is subject to pending bankruptcy proceedings or if you have received a discharge in bankruptcy, this statement is for informational purposes
      Information                only and is not an attempt to collect a debt against you personally.

      Requests for prior payment adjustments: To request funds for a prior payment be applied differently, you must notify PennyMac within 90 days of the original
      transaction. After 90 days, we will only change the application of funds if the transaction was applied contrary to your documented instructions.

* If you are enrolled in a PennyMac Auto-Pay program, and received a payment change notification, the new payment amount will be drafted on your scheduled draft date. (The
principal curtailment amount will not change.) If you pay via online bill payment, please update the payment amount with your financial institution to ensure timely processing of your
payment.
** When you pay with a check, you authorize PennyMac either to use information from your check to make a one-time electronic fund transfer (EFT) from your account, or to process the
payment as a check transaction. When we use information from your check to make an EFT, funds may be withdrawn from your account on the same day PennyMac receives your
payment. Please note that your financial institution will not send back your check. If funds are returned unpaid, a return service charge may be assessed to your loan whether processing
your payment as a check or an EFT, as allowed by applicable law.
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In accordance with the Fair Debt Collection Practices Act, 15 U.S.C. section 1692 et seq., debt collectors are prohibited from engaging in
abusive, deceptive, and unfair debt collection efforts, including but not limited to: (i) the use or threat of violence; (ii) the use of obscene or
profane language; and (iii) repeated phone calls made with the intent to annoy, abuse, or harass.

NEW YORK - If a creditor or debt collector receives a money judgment against you in court, state and federal laws prevent the following types
of income from being taken to pay the debt: 1) Supplemental security income (SSI); 2) Social security; 3) Public assistance (welfare); 4)
Spousal support, maintenance (alimony) or child support; 5) Unemployment benefits; 6) Disability benefits; 7) Workers' compensation benefits;
8) Public or private pensions; 9) Veterans' benefits; 10) Federal student loans, federal student grants, and federal work study funds; and 11)
Ninety percent of your wages or salary earned in the last sixty days. PennyMac Loan Services, LLC is registered with the Superintendent of
the New York State Department of Financial Services (Department). You may obtain further information or file a complaint by calling the
Department’s Consumer Assistance Unit at 1-800-342-3736 or by visiting www.dfs.ny.gov.

NORTH CAROLINA - Licensed by the North Carolina Office of the Commissioner of Banks. Complaints regarding the servicing of your
mortgage may be submitted to the Office of the Commissioner of Banks, 316 W. Edenton Street, Raleigh, NC 27603, (919) 733-3016.
Licensed by the North Carolina Department of Insurance. Permit No. 119504607 - 6101 Condor Dr., Suite 200, Moorpark, CA 93021. Permit
No. 119505929 - 14800 Trinity Blvd., Fort Worth, TX 76155. Permit No. 119506567 - 3043 Townsgate Rd., Suite 200, Westlake Village, CA
91361. Permit No. 119506570 - 2201 West Plano Parkway, Suites 150 and 300, Plano, TX 75075. Permit No. 119507419 - 10550 West
Charleston Blvd., Suite A, Las Vegas, NV 89135.

OREGON - Borrowers: The Oregon Division of Financial Regulation (DFR) oversees residential mortgage loan
servicers who are responsible for servicing residential mortgage loans in connection with real property located in
Oregon and persons required to have a license to service residential mortgage loans in this state. If you have
questions regarding your residential mortgage loan, contact your servicer at (800) 777-4001. To file a complaint
about unlawful conduct by an Oregon licensee or a person required to have an Oregon license, call DFR at
888-877-4894 or visit dfr.oregon.gov.

                                                             Licensing Information


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LLC and/or its subsidiaries or affiliates. Arizona Mortgage Banker License # 0911088. Licensed by the Department of Financial Protection and
Innovation under the California Residential Mortgage Lending Act. Colorado: Colorado office: 5500 South Quebec Street, Suite 260,
Greenwood Village, Colorado 80111, (877) 215-2552. Massachusetts Mortgage Lender License # MC35953. Minnesota: This is not an offer to
enter into an agreement and an offer may only be made pursuant to Minn. Stat. §47.206 (3) & (4). Licensed by the N.J. Department of Banking
and Insurance. Rhode Island Lender License # 20092600LL. For more information, please visit www.PennyMac.com/state-licenses. Loans not
available in New York. Some products may not be available in all states. Information, rates and pricing are subject to change without prior
notice at the sole discretion of PennyMac Loan Services, LLC. All loan programs subject to borrowers meeting appropriate underwriting
conditions. This is not a commitment to lend. Other restrictions apply. All rights reserved. (09-2022)
